Case 2:23-cv-00936-AMA-CMR   Document 119-4   Filed 02/27/25   PageID.941   Page
                                   1 of 4
Case 2:23-cv-00936-AMA-CMR                                          Document 119-4                        Filed 02/27/25                        PageID.942                  Page
                                                                          2 of 4


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                *
           3,OLD) REPUBLIC‘ NATIONAL' TITLE: INSURANCE COMPANY
            *tee
           meyc      tye           ee
           299 S. Main Street, Ste 120
                        .. UT 841111
           Salt Lake City,
                   801-753-7700 Fax: 866-633-02635
           Phone: ro
           7

                                                                                ESTIMATEDU
                                                                    SETTLEMENT STATEMENT
             Date:                        March 03, 2021 10:42 am.                 File No.:         304613NCT-7    '
            Closing Date:                 March 04, 2021
            -PropertyyAddress:            :2975 Showplace Drive                    Purchasers: . —_Investment Property Exchange Services, Inc., as
                                          Naperville, IL 60564                                       Qualified intermediary forKarmann Kasten LLC,           a
                                            .                                                                                           y
                                                                                                     Colorado limited liability company under Exchange      a
                                                                                                     No. EX-09-31293-PS



                        /
            Property Tax {D:
                          ~          —3.0241%voe           ofpart ofF
                                              TIC Interestboy                      Sellers:          Millrock Investment Fund t,LLC,shoo
                                                                                                                                     a Utah limited

                                      07-01-04-410-069-0000'                                         iability company
                                                                                                      111 Main St, Ste, 2200
                                                                                                     Salt Lake City, UT 84111




                                                                           -                           Seller                                Purchaser
                                                                                              7
                                                                                              Credits _          —_—
                                                                                                                Charges               __
                                                                                                                                      Credits               Charges
                                                                                                                                                                =
          ate
          Sales Price
                                                                                              eee eee  ee
                                                                                              $153,570.03
                                                                                                                                                             ate ane   ny
                                                                                                                                                             ‘$153,570.03

          No Reall Estate Tax Proration‘- Taxes            by
                                                to be Paid4d
                                              Syd
          Tenant
          ~         ek
          Marchmre
                2021 Rent Proration                                                                                   $722.45
                                                                                                                      oo



          Sy Transfer Tax
          State                                                                                                     $154.00
                                                                                                                    “—
                    ,
          County Transfer Tax                                                                                              a)
                                                                                                                        $77.00

          yo
          City Transfer Tax                                                                                               1
                                                                                                                    $462.00

                                          to
          RealI Estate Commission To Colliers International                                                       $2,362.62'

          -4-
          Real                            roar
                Estate Commission To A Better Way Realty                                                          $4,607.10      ,
          LLC

                        +
          Marketing Fee To Millcreek Commerical
          Properties, LLC
                                            va  -                                                                 $2,242.12      :



         Titlea)Fees To Old ~
                            Republice National Title Insurance
                Closing Fees                                                                                      $1,500.00
                         ~       ‘                                                                                            '

                CPL Fees                                                                                                $75.00


                                                    -
                CoordinationbeFee                                                                                   $250.00
                    cmt
                Muni, Stamp and Recoding Service Fee
                                                                -                                                   3350.00


                          To Old
         Title .Insuranceeo»               National Title Insurance
                               tf Republicce

                -
               Standard Owner1                                                                                    $1,615.00  )
         -Recording Feesye
                         To Simplifile
              ae
              Estimatedop       >Fee
                        Recording                                                                                  $125.00oy
          on Exchange
         1031       a Proceeds                                                                                                       $153,570.03
                                                                                                                                           OF



          ve                                                                                                                                                           ot
        Sub Touls::                   ~                 :                                                                                           a   ¥$153,570.03

                                     “a
        Net Pracveds Due Seller”                            ,                                                   $139}027.74)>                           i
        Funds Due From Buyer                                         ;                                           “—                         S000]   " ”
          oe                                -                              >                                                          ie eel                Oe,
        Grand Totals:                                       *                                                   s153,57003|          sits 30]       2       $153.5   03

                                                                         Signature Page to Follow

          CSSComb V3.0                                                                                                                      PAGE1




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Case 2:23-cv-00936-AMA-CMR                              Document 119-4                        Filed 02/27/25           PageID.943      Page
                                                              3 of 4


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                                                     Settlement Statement Signature Page

          File No.        304613NCT-7

          Property:       2975 Showplace Drive
                          Naperville, IL 60564




         To the best of my knowledge, the foregoing statement is a true and accurate account of the                 wet received and
                                                                                                       funds which were
                                                                                                    —--—.-3
         will be disbursed as part of the settlement of this transaction and is approved by me, the undersigned. I agree to pay my
         costs, expenses and any other obligations itemized.

         Millrock Investment Fund 1, LLC, a Utah limited liability company


         By: Kevin Long
         Its: Manager



              tment Pr         xchange    Services, Inc., as Qualified Intermediary for Karmann Kasten LLC


                                               Qualified Intermediary is not
                                               responsible for the accuracy
                                               of the settlement statement.
         Karmann Kasten LLC, a Colorado limited liability company



        By: Kate Grant
        Its: Managing Member




        By:




        Forest Anthony,
        Escrow Officer




                                                                                                     MILLCREEK-GRANT000030
Case 2:23-cv-00936-AMA-CMR                            Document 119-4                       Filed 02/27/25                  PageID.944   Page
                                                            4 of 4




                                                 Settlement Statement Signature Page

           File No           304613NCT-7


           Property:         2975 Showplace Dnve
                             Naperville. IL 60564




           To the best of my knowledge, the foregoing statement is a true and accurate account of the funds which were received and
           will be disbursed as part ofthe settlement of this transaction and ésapproved by me, the undersigned ( agree to pay my
           costs, expégses and any other obligations itemized.

                                           >a Ulah   fmited Labilay company




           hs Manager



           Investment Propeny Exchange Services, Inc , as Qualified Imermediary for Karmann Kasten LLC




           By
           Its



           Karmann Kasten LLC, 3 Colorado Ismuted lability company



           ByKate Grant
           tts Managing Member




           Forest Anthony.
           Escrow Officer




                                                                                                         MILLCREEK-GRANT000031
